Case 2:21-cv-07505-MCS-JEM Document 24-3 Filed 01/06/22 Page 1 of 3 Page ID #:123




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 7   MAREK RUDAK
 8
 9                           UNITED STATES DISTRICT COURT
10
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11
12   UNITED STATES OF AMERICA,              Case No. 2:21-CV-07505-MCS-JEM
13
                  Plaintiff,                DECLARATION OF CLAIMANT
14                                          MAREK RUDAK IN SUPPORT OF
                  v.
15                                          HIS MOTION TO DISMISS THE
     $340,000.00 IN U.S. CURRENCY           UNITED STATES OF AMERICA’S
16                                          VERIFIED COMPLAINT FOR
     AND MISCELLANEOUS PRECIOUS
17   ITEMS,                                 FORFEITURE
18                Defendants.               Date:    March 7, 2022 (Monday)
19                                          Time:     9:00 a.m.
                                            Location: Department 7C
20
21                                          Judge: Hon. Mark C. Scarsi
22                                          Complaint Filed: September 20, 2021
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     2:21-CV-07505-MCS-JEM                                 DECLARATION OF MAREK RUDAK
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Case 2:21-cv-07505-MCS-JEM Document 24-3 Filed 01/06/22 Page 2 of 3 Page ID #:124




 1                           DECLARATION OF MAREK RUDAK
 2         I, Marek Rudak, declare:
 3         1.     I am the claimant in the above-referenced matter. I have personal
 4   knowledge of the facts set forth in this declaration and, if called as a witness, could
 5   and would testify completely to such facts under oath.
 6         2.     I make this declaration in support of Claimant’s Motion to Dismiss the
 7   United States of America’s (the “Government”)Verified Complaint for Forfeiture
 8   (“Complaint”).
 9         3.     In 2005 and in 2006, I had minor brushes with the law concerning
10   personal medical use and cultivation of medical marijuana and electrical power
11   theft. It   is   my     understanding      that     my   prior   convictions   were   either
12   misdemeanors or reduced to misdemeanors, and that all prior convictions have
13   been expunged and dismissed.
14         4.     Since 2006, I have never been arrested, have never been under any
15   criminal investigation (to the best of my knowledge), and did not have any brushes
16   with the law. Not even a traffic ticket.
17         5.     Since approximately 2011, I have been employed as a glassmith,
18   working as a consultant for various glass brands. I have assisted companies design
19   shops, and have engaged in the import of raw glass-related materials from China.
20         6.     I am also happily married to a doctor, a woman I met six years ago.
21         7.     I felt that 2019 and 2020 were a disturbing and scary times in Los
22   Angeles. Protests and riots were the normal news, banks had been boarding up their
23   windows, and emergency alerts were prompting people to stay indoors after curfew.
24   I felt it was unsafe to keep cash and gold at home. I was uncomfortable storing my
25   cash at a financial institution or renting a safety deposit box at a bank due to bank
26   closures and many people’s inability to access their valuables. As such, I decided to
27   rent a vault at United States Private Vaults (“USPV”) because it was a private
28   company renting vaults in Beverly Hills, a well-protected neighborhood.
     2:21-CV-07505-MCS-JEM                                             DECLARATION OF MAREK RUDAK
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Case 2:21-cv-07505-MCS-JEM Document 24-3 Filed 01/06/22 Page 3 of 3 Page ID #:125




 1         8.     On or about January 18, 2020, I opened my box at USPV, box number
 2   5409. Attached hereto as Exhibit A is a true and correct copy of my agreement with
 3   USPV pertaining to the rental of my safety deposit box
 4         9.     In my box at USPV (Box No. 5409), I placed $340,000 in cash as well
 5   as miscellaneous precious items which include approximately 55 one-ounce gold
 6   coins dated from 1985 to 2021 and a stack of 1-2 gram gold KITCO cards. I believe
 7   these miscellaneous items are worth approximately $100,000.00.
 8         10.    None of the items that I placed in the box were the proceeds of criminal
 9   activity or were used to facilitate a criminal act. Rather, the money and miscellaneous
10   items are my savings from my hard work lawful earnings.
11         11.    I do not know any of the USPV owners. I did not know USPV or any
12   of its owners were under a criminal investigation or involved in any unlawful
13   conduct. I have never had any business relationship with USPV, its members,
14   owners, or anyone associated with it (other than renting a safety deposit box at
15   USPV).
16         12.    In or about October 2020, I registered the trademark “Vidagen.” I came
17   up with that name as it means “life genetics”—that is, ‘Vida’ means life in Spanish
18   and ‘Gen’ is an abbreviation for genetics. I had hoped to build a tissue culture lab.
19   My understanding is that tissue culture is a propagation technique that has the ability
20   to remove disease from plants, which was also the reason for the name—Vidagen—
21   “life genetics.” My hopes never came to fruition.
22         I declare under penalty of perjury, under the laws of the United State of
23   America, that the foregoing is true and correct.
24
25         Executed on January 6, 2022, in Los Angeles, California.
26
27
28
                                                  Mares
                                            _________________________________
                                                      Marek Rudak

     2:21-CV-07505-MCS-JEM                                        DECLARATION OF MAREK RUDAK
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